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IN THE UNITED STATES DISTRICT COURT 540@

 
 

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FOR THE WESTERN DISTRICT OF TENNES§EI/E___,_W l°/y 4 '
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UNITED sTATEs or AMERICA, ‘ Ql/
Piaintiff,
vs. NO. 03-cR-10071-r

JOE DAVID SLOAN,

Defendant.

 

ORDER FOR COMMITMENT OF DEFENDANT FOR TREATMENT

 

Defendant Joe David Sloan Wax examined pursuant to 18 U.S.C. § 4241 to determine
Whether defendant is competent to understand the legal process, make rational decisions, and
assist in his defense The court ordered pursuant to 18 U.S.C. § 4247 that a psychiatric or
psychological examination of defendant be conducted at an appropriate medical facility to
determine defendant’s competency to stand trial. On June 28, 2005, the Warden of the U.S.
Medical Center for Federal Prisoners at Lexington, Kentucl<y, filed a forensic mental health
evaluation concerning defendant In that forensic report, Karen Millner, Psy.D., Forensic
Psychologist, stated “In the opinion of the undersigned evaluator, it appears Mr. Sloan i_s
currently suffering from a mental disease or defect rendering him mentally incompetent to the
extent he is unable to understand the nature and consequences of the proceedings against him
or to properly assist in his defense Thus, in the opinion of the undersigned evaluator, Mr.

Sloan is n_ot currently competent to stand trial. Further, it is the opinion of the examiner, if Mr.

Thls document entered on the docket sheet ln compliance
with Rule 55 andfor 32(b) FRCrP on

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Sloan is committed for treatment under the provisions of Title 18, United States Code, Section
4241(d), there is a substantial probability he Will attain the capacity to permit trial to proceed
in the foreseeable future. lt is recommended, should the Court find him incompetent to stand
trial, Mr. Sloan undergo a period of treatment aimed at restoring his competency and further
assessing his mental condition, thereby establishing a firmer clinical foundation from which to
evaluate his mental state at the time of the alleged offense.”

Therefore, it is hereby ,ordered that the defendant be committed to the custody of the
Attorney General pursuant to 18 U.S.C. § 4241 (d). The Attorney General shall hospitalize the
defendant for treatment in a suitable facility for Such a reasonable period of time, not to exceed
four (4) months, as is necessary to determine Whether there is a substantial probability that in
the foreseeable future he will attain the capacity to permit the trial to proceed, and for an
additional reasonable period of time until his mental condition is so improved that trial may
proceed, if the court finds that there is a substantial probability that within such additional
period of time he will attain the capacity to permit the trial to proceed, or the pending charges
against him are disposed of according to law, Whichever is earlier.

lf, at the end of the time period specified, it is determined that the defendant’s mental
condition is not so improved as to permit the trial to proceed, the defendant Will be Subj ect to
the provisions of 18 U.S.C. § 4246.

The Attorney General, through his authorized representative at an appropriate federal
medical facility, will advise the court within four (4) months as to whether there is a substantial
probability that defendant will attain the capacity to permit the trial to proceed in the
foreseeable future. Further, the Attorney General will make a recommendation to the court

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concerning Whether additional treatment Will result in defendant attaining the capacity to

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J ES D. TODD
ITED STATES DISTRICT JUDGE

permit the trial to proceed,

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Notice of Distribution

This notice confirms a copy of the document docketed as number 137 in
case l:03-CR-1007l Was distributed by fax, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

David W. Camp

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Honorable .l ames Todd
US DISTRICT COURT

